Case 3:23-cr-00014-DJH Document 92-2 Filed 11/13/23 Page 1 of 5 PagelD #: 801

4 Gmail Larry -imon <larrysimonlawoffice@gmail.com>

US v. Conley - Expert Witness Notice

1 message

King, Joel (USAKYE) <Joel.King@usdoj.gov> Fri, Oct 6, 2023 at 4:31 PM
To: Larry Simon <larrysimonlawoffice@gmail.com>
Cc: "Judd, Joshua (USAKYW)" <Joshua.Judd@usdoj.gov>

Larry,

In accordance with Rule 16 and the Court’s scheduling order which imposes a rebuttal expert witness disclosure deadline of
October 9th, please see the attached letter detailing our notice.

Please let us know if you have any questions.

JOEL KING

Assistant United States Attorney
Eastern District of Kentucky
207 Grandview Drive, Suite 400
Ft. Mitchell, KY 41017

Ph: (859) 652-7034

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joel.king@usdoj.gov

Please be advised that all emails sent to this address are archived and retained by the United States Department of
Justice.

2 attachments

+ Expert Disclosure (Vokoun)_signed.pdf
1143K

» DFE Erik Vokoun (FBI) CV.pdf
— 491K
Case 3:23-cr-00014-DJH Document 92-2 Filed 11/13/23 Page 2 of 5 PagelD #: 802

United States Department of Justice

United States Attorney’s Office
Western District of Kentucky

AUSA Joel King 207 Grandview Drive
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E-mail: joel.king@usdoj.gov Ft. Mitchell, Kentucky 41017-2762

October 5, 2023
VIA EMAIL

Larry Simon
471 West Main Street
Suite 200, Louisville, KY 40202

Re: United States v. Bryan Conley
Criminal No. 3:23-cr-14-DJH

Dear Mr. Simon:

Pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G) and the Court’s
pretrial scheduling order, the United States provides notice of its intention to call Federal
Bureau of Investigation (FBI) Digital Forensics Examiner Erik M. Vokoun as an expert
witness during trial.

As previously detailed in a February 23, 2023 letter and as discussed on various
occasions since, DFE Vokoun is an expert in accordance with Federal Rule of Evidence
702, but will not offer opinion testimony. Rather, he will testify about his extraction,
processing, analysis, and evaluation of digital evidence, which relied on DFE Vokoun’s
specialized training and expertise. Therefore, we provide notice of Erik Vokoun as an
expert witness out of an abundance of caution.

DFE Vokoun will provide testimony regarding a forensic examination of the
Defendant’s, victim R.W., M.W., and R.A.W.’s cellular devices SIM cards, and flash

memory. DFE Vokoun will detail the extraction process and the analysis of the extracted
data.

Regarding the Defendant’s cellular device, DFE Vokoun will testify about:
Case 3:23-cr-00014-DJH Document 92-2 Filed 11/13/23 Page 3 of 5 PagelD #: 803

United States Department of Justice

United States Attorney’s Office
Western District of Kentucky

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1. Device identifying information

2. Device location information

3. Plenty of Fish (“POF”) accounts — There are six different POF accounts
accessed by the device. This is known because of emails, cookies, and images on the

device. The device does not detail when the accounts were created but does detail when
they were accessed.

Username Date

8008sloose 1/28/2019 2:51:55 PM(UTC-6)
Simpleman1013 1/28/2019 8:30:41 AM(UTC-6)
loveiseasy678888 1/24/2019 6:34:13 PM(UTC-6)
Loveiseasy1198 10/30/2018 10:49:38 AM(UTC-5)
BryantH101B 10/3/2018 12:14:31 PM(UTC-5)
HooperB10q 10/1/2018 6:08:46 PM(UTC-5)

4. Email accounts accessed or used from the device — There are five email
accounts accessed by the device. In addition, the extraction documents phone numbers
and accountholder names associated with the email accounts and where the email

accounts were found (user accounts for Gmail, Google, Android Chrome, TextMe, and
Yahoo)

Address
Lancedebeers101@gmail.com
bryandconley@gmail.com
bhtown101b@gmail.com
be.conley@yahoo.com
Bhooper101g/@gmail.com

5. Images

6. Internet searches and associated dates of the searches
7. Call log

8. Text messages

Case 3:23-cr-00014-DJH Document 92-2 Filed 11/13/23 Page 4 of 5 PagelD #: 804

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9. TextMe messages
10. TextNow messages

11. All information disclosed in “KRC221229001 Report of Examination” and the
“Bryan Conley's Samsung Galaxy $8+_Cellebrite_Report.ufdr”

Similarly, DFE Vokoun will testify about the information found on the device
believed to belong to the R.W.

1. Device location information

2. Email messages

3. Text messages

4. Images

5. Videos

6. Voicemails

7. Call log, to include deleted calls

8. All information disclosed in report “KRC221229001” and the “R
W 's iPhone 8 Plus_Cellebrite_Report.ufdr”

Lastly, DFE Vokoun will testify about the information found on the devices
belonging to M.W and R.A.W.

1. Device location information
2. Text messages

3. Images

4. All information disclosed in “KRC230113002 Technical Report,” “R
W 's Apple_iPhone 7 (A1660) Communications_Report.ufdr,” and “M
W 's Apple_iPhone 8 Plus (A1864) Communications Report.ufdr”

The reports and extraction files referenced above and the qualifications of the DFE
Vokoun were included in prior disclosures, but can be resent for your convenience. The
United States will create trial exhibits containing subsets of the data obtained by this
expert. I provided an exhibit draft on May 25, 2023 and will provide a more finalized
Case 3:23-cr-00014-DJH Document 92-2 Filed 11/13/23 Page 5 of 5 PagelD #: 805

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copy prior to trial. DFE Vokoun’s testimony will include authenticating and explaining
the data in such exhibits.

Enclosed please find the DEF Vokoun’s updated CV which includes sworn
testimony. DFE Vokoun has not authored publications.

Sincerely,

MICHAEL A. BENNETT
United Statés Attorney

J oehKjing ~

Special Assistant United States Attorney
207 Grandview Drive, Suite 400

Ft. Mitchell, Kentucky 41017

(859) 652-7034

joel. king@usdoj.gov

The undersigned proposed expert witness has reviewed and approves this
disclosure.

Date: (o(slzozz oA tue
Mr. Erik Vokoun
FBI Digital Forensic Examiner

